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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
 TH/RAB                                            271 Cadman Plaza East
 F. #2025R00212                                    Brooklyn, New York 11201



                                                   May 12, 2025

 The Honorable Kiyo A. Matsumoto
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

               Re:    United States v. Jonathan Braun
                      Criminal Docket No. 10-433 (KAM)

 Dear Judge Matsumoto:

                The government respectfully submits this letter in advance of the continuation
 of the revocation hearing scheduled for May 15, 2025 at 2:30 p.m. As the Court is aware, the
 Violation of Supervised Release Report dated April 1, 2025 (“VOSR Report”) and the
 Addendum to the VOSR Report dated May 1, 2025 (the “VOSR Addendum”) contains
 charges relating to the following conduct:

            Charges 1-3: On March 29, 2025, the defendant Jonathan Braun assaulted an
            individual (“Victim-1”) and his three-year-old son (“Victim-2”).

         Charge 4: On January 24, 2025, while at Mount Sinai South Nassau Hospital, the
          defendant attempted to punch a registered nurse in the emergency department
          (Brianna Peace) and swung an IV pole at her.

         Charge 5: On March 22, 2025, the defendant grabbed the arm of a man
          (“Victim-5”) and threatened him during religious services at a temple.

         Charges 6 and 8: On February 15, 2025, the defendant went to the bedroom of the
          live-in nanny he and his wife employed (“Danelle”). The defendant held Danelle
          on her bed, groped her without her consent, and forced Danelle to touch his
          genitals.

         Charge 7: Between approximately May and July 2024, the defendant, who was
          driving a white Lamborghini Urus and a black Ferrari, repeatedly evaded paying
          the tolls for the Atlantic Beach Bridge.
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         Charge 9: Since commencement of his supervised release term on January 19,
          2021, Braun failed to pay his court-ordered fine and has an outstanding balance of
          $77,200. The VOSR Addendum indicates that Braun advised his Probation
          Officer that he had access to funds to pay the fine in full but does not feel that he
          should have to pay the fine.

         Charge 10: In November 2021, the defendant left the Eastern District of New
          York without authorization from the United States Probation Department or the
          Court. Specifically, the defendant travelled to the Foxwoods El San Juan Casino
          in Puerto Rico.

                At the revocation hearing that took place on April 10 and April 11, the
 government proved by a preponderance of the evidence: Charge 4 (Menacing in the Second
 Degree), as well as Charge 6 (Forcible Touching) and Charge 8 (Sexual Abuse in the First
 Degree). In addition, the government admitted testimony and evidence underlying Charges 1
 through 3 (Assault and Child Endangerment) and Charge 7 (Petit Larceny). The government
 respectfully seeks leave to submit a post-hearing brief summarizing the evidence and the
 elements of each of these charges.

                At the continuation of the revocation hearing on Thursday, the government
 intends to present the testimony of a law enforcement officer who took and received
 photographs of an individual Jonathan Braun assaulted (Victim-1) and a photograph of
 Victim-1’s three-year-old son (Victim-2), related to Charges 1-3. The government also
 intends to present the testimony of a law enforcement officer who conducted the photo array
 identification of the toll collector who identified the defendant related to Charge 7. In
 addition, the government intends to admit certified records from the Foxwoods El San Juan
 Casino establishing the factual basis for Charge 10. Unless the Court believes it necessary to
 hear the testimony of United States Probation Officer Heather Clark, the government intends
 to prove Charges 9 and 10 solely by reference to documentary evidence. 1

               Lastly, the government has served subpoenas on Victim-1 and Victim-5 for
 their testimony on Thursday. The government has contacted and attempted to contact both
 Victim-1 and Victim-5 several times. Both Victim-1 and Victim-5 live near the defendant
 and have expressed significant concerns and reluctance to testify. At times, both Victim-1
 and Victim-5 indicated their outright refusal to testify. Since the subpoenas were served on
 Victim-1 and Victim-5, the government has repeatedly endeavored to confirm that Victim-1
 and Victim-5 will appear at the hearing as required. As of this writing, however, the
 government has not received assurances that these witnesses will in fact appear.

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                 Unless the defendant intends to present testimony related to the charges in the
 VOSR Addendum, the defendant’s request (see Docket Entry No. 231) for a “potential date
 for a full hearing” does not appear necessary, as the government does not intend to present
 witness testimony in connection with those charges.

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                As this Court has noted, “[b]ecause revocation proceedings are not deemed
 part of a criminal prosecution, neither the Confrontation Clause nor the Federal Rules of
 Evidence strictly apply to out-of-court statements.” United States v. Joseph, No. 18-CR-
 00002 (KAM), 2020 WL 565378, at *3 (E.D.N.Y. Feb. 4, 2020) (admitting out-of-court
 hearsay of victim at VOSR hearing). Should Victim-1 and Victim-5 fail to appear, the
 government may seek to admit hearsay statements of Victim-1 at the continuation of the
 revocation hearing.

                The government may seek to admit the following exhibits at the continuation
 of the revocation hearing:

             GX5        Photo Array Identification (previously marked)
            GX20-23     Photographs of Victim-1
             GX24       Photograph of Victim-2
             GX25       Certified records from Foxwoods El San Juan Casino
             GX26       Sworn deposition by Victim-1
             GX27       Body Worn Camera Footage Dated March 29, 2025
            GX27-T      Transcript of GX27

                                                   Respectfully submitted,

                                                   JOSEPH NOCELLA, JR.
                                                   United States Attorney

                                           By:       /s/
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 cc:    Kathryn Wozencroft, Esq. (by email and ECF)
        U.S. Probation Officer Heather Clark (by email)




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